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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE:                                         )   BANKRUPTCY CASE
                                               )
Alma Najera,                                   )   NO.: 17-35281
                                               )
         Debtor,                               )   CHAPTER 13
                                               )
                                               )   JUDGE: Carol A. Doyle

                                                   Hearing: May 4, 2021
                                                   Time: 9:30 a.m.


                   RESPONSE TO AMENDED MOTION TO SELL REAL
                                   ESTATE

         Now Comes RCF II Loan Acquisition, LP by and through its attorneys, McCalla Raymer

Leibert Pierce, LLC, stating as follows:

      1. On November 28, 2017, the Debtor filed the instant bankruptcy petition under Chapter

           13 of the Bankruptcy Code (11 U.S.C. Sec. 1301 et seq.)

      2. The above captioned Chapter 13 case was confirmed on January 30, 2018.

      3. The RCF II Loan Acquisition, LP services the mortgage lien on the real property

           located at 9810 Menard Avenue, Oak Lawn, IL 60453.

      4. The terms of the confirmed plan provide that the Debtor shall cure the mortgage

           arrears and remit monthly mortgage payments directly to RCF II Loan Acquisition,

           LP.

      5. Debtor now seeks the Court’s authorization to sell the property located at 9810

           Menard Avenue, Oak Lawn, IL 60453.

      6. Debtor’s Motion indicates she has a purchase offer in the amount of $269,000.00 with

           an anticipated closing date of May 21, 2021.
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      7. RCF II Loan Acquisition, LP is not opposed to Debtor’s Motion to Sell the property

          provided that the mortgage lien is paid in full pursuant to a contemporaneous payoff

          statement secured at the time of closing.

      8. Additionally, given the tentative nature of real estate sales, RCF II Loan Acquisition,

          LP requests that the sale is to be completed within six months from entry of the Order

          permitting Debtor to sell the property located at 9810 Menard Avenue, Oak Lawn, IL

          60453.

      9. Therefore, RCF II Loan Acquisition, LP requests such additional language in the

          Order to ensure it is adequately protected.



      WHEREFORE, RCF II Loan Acquisition, LP respectfully requests that this Court enter an

Order permitting Debtor to sell the property subject to RCF II Loan Acquisition, LP being

adequately protected and paid in full, and for such other and further relief as the Court deems just

and proper.



                                              McCalla Raymer Leibert Pierce, LLC

                               By:            /s/Kinnera Bhoopal
                                              Kinnera Bhoopal
                                              Illinois Bar No. 6295897
                                              1 N. Dearborn Suite 1200
                                              Chicago, GA 60602
                                              (312) 348-9088 X5172
                                              Kinnera.Bhoopal@mccalla.com
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                                                  Hearing: May 4, 2021
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                                    NOTICE OF FILING

To: See attached service list

PLEASE TAKE NOTICE THAT on April 30, 2021, RCF II Loan Acquisition, LP filed the
attached Response.
                          PROOF OF SERVICE

        I, the undersigned Attorney, Certify that I served a copy of this Response to Amended
Motion To Sell Real Estate of Addresses attached by Electronic Notice through ECF or
depositing the same in the United States Mail at 1 N. Dearborn Suite 1200, Chicago, IL 60602, at
or before 5:00 p.m., on April 30, 2021, with proper postage prepaid.




*THESE DOCUMENTS ARE AN                                /s/Kinnera Bhoopal
ATTEMPT TO COLLECT A DEBT                              Kinnera Bhoopal
AND ANY INFORMATION                                    ARDC# 6295897
OBTAINED WILL BE USED FOR                              McCalla Raymer Leibert
THAT PURPOSE*                                          Pierce, LLC
                                                       1 N. Dearborn Suite 1200
                                                       Chicago, IL 60602
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                                         SERVICE LIST

To Trustee:                                               by Electronic Notice through ECF
M.O. Marshall
55 E. Monroe Street, Suite 3850
Chicago, IL 60603


To Debtor:
Alma Najera                                               Served via U.S. Mail
9810 Menard Ave.
Oak Lawn, IL 60453


To Attorney:                                              by Electronic Notice through ECF
David P Leibowitz, ESQ
Law Offices of David P Leibowitz
3438 N Elaine Place Unit 4
Chicago, IL 60657


McCalla Raymer Leibert Pierce, LLC
Attorney For: Creditor
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Chicago, IL 60602
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